 Case
  Case1:23-cv-02827-SAG
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

SIMMS SHOWERS LLP                                 :
                                                  :
       Plaintiff,                                 :
                                                  :
v.                                                :   Case No. 1:23-cv-02827 SAG
                                                  :
MICHAEL JONES                                     :
                                                  :
       Defendant.                                 :

                                              ORDER

       Upon consideration of the Motion for Extension, or in the alternative, to Stay or

                                                                     18th day of
Administratively Close filed by the Plaintiff, it is therefore this _____

      March
_________________, 2024, by the United States District Court for the District of

Maryland

        ORDERED that the Motion for Extension is GRANTED, and it is further

ORDERED that the Plaintiff be, and hereby is provided an extension of 60 days to serve

Defendant. If service has not been effected within the next sixty days, Plaintiff should file

an updated status report by May 20, 2024.
                                                           /s/
                                       ______________________________________________
                                       The Honorable Stephanie Gallagher
                                       United States District Court for the District of Maryland
